            Case 4:10-cv-01644-BSM Document 3 Filed 01/06/11 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

ELIZABETH THORNHILL,                          )
                                              )
                      Plaintiff,              )       4:10-cv-01644-BSM
                                              )
       v.                                     )       Judge Miller
                                              )       Magistrate Judge Volpe
NATIONAL ASSET                                )
RECOVERY SERVICES, INC.,                      )
                                              )
                      Defendant.              )

        MOTION TO VOLUNTARILY DISMISS PURSUANT TO SETTLEMENT

       NOW COMES the Plaintiff, ELIZABETH THORNHILL, by and through her attorneys,

LARRY P. SMITH & ASSOCIATES, LTD., and for her Motion to Voluntary Dismiss, Plaintiff

states as follows:

       1.      Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Plaintiff hereby

               respectfully requests that this Honorable Court enter an order reflecting that the

               Plaintiff voluntarily dismisses her case pursuant to a settlement agreement

               reached by the parties.

       2.      The parties have reached a settlement accord and are in the process of resolving

               all remaining issues, such as the terms of the settlement agreement and the

               conditions for payment of the settlement proceeds.

       3.      In order to ensure that this Court retain jurisdiction to enforce the settlement

               agreement between the parties, should the need arise, Plaintiff requests that the

               dismissal order relative to the above captioned matter be without prejudice and

               without costs to either party, and with leave for Plaintiff to seek reinstatement

               within forty-five (45) days from the date of entry of said order.

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   4.      Plaintiff further requests that the dismissal order reflect that if this case has not

           been reinstated within forty-five (45) days from the date of entry of said order, or

           a motion for reinstatement has not been filed by said date, then the dismissal of

           this case shall automatically convert from a dismissal without prejudice to a

           dismissal with prejudice.

                                                         Respectfully submitted,
                                                         ELIZABETH THORNHILL

                                                  By:     s/ David M. Marco
                                                          Attorney for Plaintiff

Dated: January 6, 2011

David M. Marco (Atty. No.: 6273315)
LARRY P. SMITH & ASSOCIATES, LTD.
205 North Michigan Avenue, 40th Floor
Chicago, IL 60601
Telephone: (312) 222-9028 (x812)
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
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ELIZABETH THORNHILL,                       )
                                           )
                      Plaintiff,           )       4:10-cv-01644-BSM
                                           )
       v.                                  )       Judge Miller
                                           )       Magistrate Judge Volpe
NATIONAL ASSET                             )
RECOVERY SERVICES, INC.,                   )
                                           )
                      Defendant.           )

                                   CERTIFICATE OF SERVICE

To: Michael Klutho
    Bassford Remele
    33 South Sixth Street, Suite 3800
    Minneapolis MN 55402-3707

       I, David M. Marco, an attorney, certify that on January 6, 2011, I shall cause to be
served a copy of Plaintiff’s Motion to Voluntarily Dismiss, upon the above named
individual(s) by: depositing same in the U.S. Mail box at 205 North Michigan Avenue, 40th
Floor, Chicago, IL 60601, prior to 5:00 p.m., postage prepaid; messenger delivery; Federal
Express; facsimile transmitted from (888) 418-1277; email; and/or electronically via the Case
Management/Electronic Case Filing system (“ECF”), as indicated below.

            X   U.S. Mail                                    Facsimile
                Messenger Delivery                           Email
                Federal Express/UPS                          ECF

                                                   By:    s/ David M. Marco
                                                          Attorney for Plaintiff

   David M. Marco (Atty. No.: 6273315)
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